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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-9091 PA (ASx)                                            Date   November 15, 2021
 Title             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
                 Jennifer Graciano (video)                                 Chia Mei Jui (video)
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                   Thomas Dietrich (video)                                 Rollin Ransom (video)
                  Stephen McArthur (video)                                 Lauren De Lilly (video)
 Proceedings:                 STATUS CONFERENCE via ZOOM

        Cause called; appearances made. Also present by video are Alex McIntosh, client representative
for Thrive Natural Care and Karissa Bodnar, client representative for Thrive Causemetics, Inc.

        The parties have reached a settlement. The parties submit a term sheet embodying the essential
terms of the settlement to the Court. Each party states their understanding, adoption, and approval of the
essential terms of the settlement. The Court dismisses this action without prejudice subject to either
party reopening the action on or before December 6, 2021. The Court retains jurisdiction for the sole
purpose of enforcing the terms of the settlement as set forth in the term sheet until December 6, 2021.
After December 6, 2021, absent a further order of the Court, the Clerk is ordered to dismiss this action
with prejudice. All other dates in this action, including the trial date are vacated. The Court Reporter is
ordered to attach a copy of the term sheet to the transcript of these proceedings. At the request of the
parties, the transcript is ordered sealed.

         IT IS SO ORDERED.




                                                                                                     :   17
                                                               Initials of Preparer               jgr




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